        Case 4:12-cr-00170-SWW Document 100 Filed 11/18/13 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DISTRICT



UNITED STATES OF AMERICA                   )
                                           )
v.                                         )                     4:12CR00170-6 SWW
                                           )
KRISTIAN HOGAN                             )


                                          ORDER

       The government has filed a motion to revoke bond (docket entry no. 99). The Clerk is

directed to issue a summons for the defendant to appear on this motion. The summons should

direct the defendant to appear on Wednesday, December 11, 2013, at 2:30 p.m.

       IT IS SO ORDERED this 18        day of November, 2013.




                                               UNITED STATES MAGISTRATE JUDGE
